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                                  AC-0001
                              
                        
          
        
      
    
  

  

  
    
      AC-0001
              Angela Colmenero
                  
        Categories
                        
Constitutional Law - Texas
              , 
Public Officeholders
              , 
Municipal Officers and Employees
              , 
Compensation and Benefits
        
      
            
                  Summary
                      A state employee serving as a council member on the Hutto City Council must decline the per-meeting salary payment in subsection 3.04(b) of the city’s charter in order to comply with article XVI, subsection 40(b) of the Texas Constitution.
      
                          
            Opinion File
                         ac-0001.pdf 

      
          
                
        
      
    

          
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    RQ-0498-KP

      
  
                January 24, 2023

      
  
      
      
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